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Attorneys for Debtor in Possession,
Spring Mountain Vineyard Inc.

            UNITED STATES BANKRUPTCY COURT
            NORTHERN DISTRICT OF CALIFORNIA

In re:                                                                   Case Number: 1:22-bk-10381 CN

SPRING MOUNTAIN VINEYARD INC.,                                           Chapter 11
a Delaware corporation,
                                                                         Monthly Fee Statement
                              Debtor.                                    Number: 3
                                                                         Month of: December 2022


1. Name of Professional:                                  Jigsaw Advisors LLC
2. Authorized to Provide Professional Services to:        Spring Mountain Vineyard Inc., a Delaware
                                                          corporation, Debtor and Debtor in Possession
3. Date of Retention:                                     September 29, 2022
4. Period For Which Compensation And                      December 1, 2022 through December 31, 2022
   Reimbursement Are Sought:                               Exhibit A contains the time and cost detail
                                                          supporting this Fee Statement.
5. Amount of Compensation Sought As Actual,               $69,300.00 (80% of $86,625.00)
   Reasonable, And Necessary:
6. Amount of Expense Reimbursement Sought As              $143.76
   Actual, Reasonable, And Necessary:
7. Total Amount of Compensation And Expense               $69,443.76
   Reimbursement Sought:




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DETAILED DOCUMENTATION SUPPORTING THE PROFESSIONAL FEES EARNED AND THE
EXPENSES INCURRED DURING THIS REPORTING PERIOD ARE ATTACHED AS EXHIBIT 1 AND
WILL BE SERVED ON: THE DEBTOR, MGG CALIFORNIA LLC, THE OFFICE OF THE UNITED
STATES TRUSTEE, COUNSEL TO THE DEBTOR'S SECURED CREDITORS, AND ALL PARTIES WHO
HAVE FILED REQUESTS FOR NOTICE IN THIS BANKRUPTCY CASE (COLLECTIVELY, THE
"RECIPIENTS"). COMPENSATION AND EXPENSES WILL BE WITHDRAWN FROM THE DEBTOR'S
TRUST ACCOUNT IN THE AMOUNT STATED IN ITEM 7 ABOVE UNLESS A WRITTEN OBJECTION
IS FILED WITH THE CLERK OF THE COURT AND SERVED ON THE PROFESSIONAL ABOVE AND
ON ALL RECIPIENTS WITHIN 15 DAYS FROM THE DATE OF SERVICE OF THIS MONTHLY
STATEMENT.


Items 1-7 above are a true and correct statement of fee compensation earned and expenses incurred during this
reporting period.


Dated:    March 23, 2023
                                                             _Jigsaw Advisors LLC___________
Type Name of Professional:
Signature of Professional:
                                                             By: /s/ William R. Brinkman




                                                             Respectfully submitted,

                                                             Greenspoon Marder LLP,
                                                             A Florida limited liability partnership


                                                             __________________________
                                                              /s/ Victor A. Sahn
                                                             Victor A. Sahn




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                   EXHIBIT A


    Jigsaw Advisors Time and Expense Detail




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                                             Jigsaw Advisors LLC
                                                     Exhibit A
                                         Hours and Fees by Professional
                          Spring Mountain Vineyard: December 1, 2022 - December 31, 2022



                Professional                                               Hours           Rate         Fees
Peter Ekman                                Managing Director               152.7            $550.00   $83,985.00
Peter Ekman                                Managing Director                9.6             $275.00    $2,640.00

Total                                                                      162.3                      $86,625.00

  Average Blended Rate Per Hour                                                             $533.73




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Invoice submitted to:

Spring Mountain Vineyard                                                                            3581 Mt. Diablo Blvd.
                                                                                                                Suite 215
2805 Spring Mountain Rd                                                                              Lafayette, CA 94549
St Helena, CA 94574


February 17, 2023
Invoice Number: 22SMV-DIP-3

 Professional Services Rendered for the Period:          December 1, 2022       -     December 31, 2022


 Date      Name                 Description                                                             Hours        Amount

           Asset Analysis & Recovery

 12/1/2022 Peter Ekman          Analyzed inventory issues and responded to S.Soares re                    0.40      $220.00
                                inventory discrepancies and year-end inventory count plan issues.

           Peter Ekman          Responded to emails from CRO, K.Krakora and P.DeLuca re                   0.20      $110.00
                                inventory valuation issues.

 12/5/2022 Peter Ekman          Telephone conference with Allen Wine Group Accounting Team                0.90      $495.00
                                and K.Krakora re accounting issues, inventory management
                                initiatives, year end inventory counts processes and guidelines,
                                GL and balance sheet issues, and COGS issues.

 12/7/2022 Peter Ekman          Prepared SMV's November bottled wine and bulk wine inventory              0.50      $275.00
                                report re bottled and bulk wine.

 12/9/2022 Peter Ekman          Telephone conference with valuation provider re valuation                 0.50      $275.00
                                isuses, timeline, costs, and questions related to the RFP.

12/14/2022 Peter Ekman          Emailed comments and suggestions (from operations                         0.30      $165.00
                                perspective) re SMV's bottled inventory valuation to V.Sahn and
                                K.Krakora. Follow up with K.Krakora.

           Peter Ekman          Responded to email from provider re SMV bottled inventory                 0.30      $165.00
                                valuation issues and adjustments.

           Peter Ekman          Analyzed, reviewed and updated contract from re SMV's bottled             0.40      $220.00
                                inventory FMV valuation proposal.

12/15/2022 Peter Ekman          Emailed (several messages) and telephone calls (two of them)              0.40      $220.00
                                with valuation professionals re SMV bottled wine valuation
                                issues, employment process, and financial documents needed.

12/30/2022 Peter Ekman          Emailed BotW and V.Sahn re the valuation issues and process to            0.50      $275.00
                                retain firm to prepared the appraisal of SMV's bottled inventory.


           SUBTOTAL:                                                                                      4.40    $2,420.00




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 Date     Name                  Description                                                           Hours       Amount

          Business Analysis

 12/1/2022 Peter Ekman          Researched key creditors and analyzed critical products and            0.90      $495.00
                                services including alternative sources as requested by V.Sahn
                                (Greenspoon).


          SUBTOTAL:                                                                                    0.90      $495.00

          Business Operations

 12/3/2022 Peter Ekman          Meeting with SMV sales team re the consumer sales event at             3.00     $1,650.00
                                SMV, update of sales and marketing plan, and creation of 2023
                                sales objectives and strategy.

 12/4/2022 Peter Ekman          Responded to requests and questions from SMV operations                0.60      $330.00
                                managers and accounting team. Follow up with accounting team
                                leaders.

 12/5/2022 Peter Ekman          Telephone conference with CRO, K.Krakora re preparation for            0.40      $220.00
                                call with lender, weekly cash-flow forecast updates, and general
                                ops issues.

          Peter Ekman           Responded to emails from CRO and accounting manager re AP              0.30      $165.00
                                and AR reporting, status, and ongoing issues.

          Peter Ekman           Responded to emails from SMV managers, BotW/BNPP bankers,              0.80      $440.00
                                CRO re operating issues and priorities, CIM, financial analysis,
                                info requests.

 12/6/2022 Peter Ekman          Responded to emails from SMV operations team re operations             0.40      $220.00
                                issues, priorities, and work plan. Updated personnel planning and
                                activities.

 12/7/2022 Peter Ekman          Responded to, and sent emails to SMV managers re operating             0.80      $440.00
                                issues, functional questions, requests, and proposals improve
                                daily business operations. Calls with numerous managers.

          Peter Ekman           Telephone conference with SMV's management team re projects,           1.10      $605.00
                                priorities, progress, and status updates. Prepared plans and
                                agenda for weekly coordination meeting.

 12/9/2022 Peter Ekman          Telephone conference with CRO K.Krakora re cash flow updates,          0.30      $165.00
                                operations, late payments, and sale process.

12/12/2022 Peter Ekman          Analyzed a large amount of documents from D.Kindermann re              3.20     $1,760.00
                                SMV's permits, licenses, land-use maps, legal applications to
                                adjust terms of operations, legal decisions and approvals as part
                                of research for strategic plan development. Follow up with
                                D.Kindermann and operations leaders and preparation of findings.

          Peter Ekman           Emailed purchaser of SMV grapes re grape payments to SMV,              0.30      $165.00
                                and provided feedback and guidance re NDA for the sale process.

          Peter Ekman           Responded to inquiries from A.Beak (BotW/BNPP) re SMV                  0.20      $110.00
                                operations and operating plans.




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 Date     Name                Description                                                          Hours       Amount

12/12/2022 Peter Ekman        Prepared documents and requested analyses related to SMV              0.40      $220.00
                              operations including licenses, permits, land-use maps.

12/13/2022 Peter Ekman        Responded to questions from BotW/BNPP re SMV's water rights           0.40      $220.00
                              and water usage. Prepared and updated summaries.

          Peter Ekman         Analyzed SMV insurance coverages, and responded to additional         0.20      $110.00
                              questions from BotW, T.Angelo re SMV's future insurance
                              premiums.

12/14/2022 Peter Ekman        Telephone conference (second call) with B.Garrison (AWG) re           0.30      $165.00
                              closing of the books for year end, recons, and inventory count.

          Peter Ekman         Telephone conference with B.Garrison, AWG re planning for year        0.50      $275.00
                              end inventory count, personnel and process.

12/15/2022 Peter Ekman        Telephone conference with CRO K.Krakora re vendor payment             0.30      $165.00
                              issues, data room requests and support, and cash flow.

12/18/2022 Peter Ekman        Responded to inquiries from K.Krakora and MGG re payment              0.40      $220.00
                              issues with grape buyer. Communication with buyer.

12/20/2022 Peter Ekman        Analyzed A/R detail, and prepared summaries for K.Krakora re          0.20      $110.00
                              payment issues. Emailed grape purchase clients.

          Peter Ekman         Telephone conference with CRO K.Krakora re late payments by           0.50      $275.00
                              customers, operations issues, and personnel issues.

          Peter Ekman         Responded to email grape client re late payment for grapes            0.30      $165.00
                              purchased. Updated management and cash flow forecast.

12/21/2022 Peter Ekman        Responded to emails from CRO K.Krakora re payment issues              0.20      $110.00
                              from grape customers, cash flow questions, and ops issues.

12/22/2022 Peter Ekman        Responded to emails re SMV grape customers and non-payment            0.30      $165.00
                              issues. Updated forecast and impact on cash flow.

12/29/2022 Peter Ekman        Responded to emails from SMV managers and K.Krakora re flow           0.30      $165.00
                              of payments, operations challenges, and personnel.


          SUBTOTAL:                                                                                15.70     $8,635.00

          Creditor Meetings & Communicat

 12/1/2022 Peter Ekman        Responded to inquiries related to weekly cash flow, and prepared      0.20      $110.00
                              updates of cash flow for MGG reporting.

          Peter Ekman         Analyzed and updated Nov 28 cash-flow forecast for MGG                0.30      $165.00
                              meeting.

 12/5/2022 Peter Ekman        Responded to inquiries re lender meetings and issues of cash,         0.20      $110.00
                              collateral status and condition, and funding needs.

          Peter Ekman         Telephone conference with A.Gern (MGG) re cash flow forecast,         0.50      $275.00
                              collateral issues, M&A process, and operating issues.




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 Date     Name                 Description                                                           Hours       Amount

 12/9/2022 Peter Ekman         Telephone conference with MGG's counsel, P.Kaufman,                    0.50      $275.00
                               P.DeLuca, K.Krakora, D.Herman, R.Rupe re sale process issues,
                               operations reporting issues, legal issues, appraisal status and
                               update, marketing materials update, real estate appraisal process
                               and update, and data room issues.

12/12/2022 Peter Ekman         Telephone conference with CRO (K.Krakora) re operations issues         0.40      $220.00
                               to cover during call with MGG (A.Gern, P.Flynn). Updated
                               meeting materials and documents.

12/14/2022 Peter Ekman         Analyzed loan documentation and updated cash requirements re           0.40      $220.00
                               meeting with MGG related to proposed financing for Spring
                               Mountain.

12/16/2022 Peter Ekman         Telephone conference with MGG, P.Kaufman (Gordian Group),              0.60      $330.00
                               D.Herman, K.Krakora, R.Rupe, P.DeLuca re operating issues,
                               M&A process, update on lender issues issues, marketing
                               materials and potential buyer update.

          Peter Ekman          Telephone conference with K.Krakora and SMV finance team re            0.60      $330.00
                               updates to forecasts for lender and support needed to analyze
                               operating issues impacting cash flow.

12/19/2022 Peter Ekman         Telephone conference with MGG, K.Krakora re Spring Mountain            0.20      $110.00
                               weekly cash flow forecast, cash collateral issues, and operating
                               update.

12/20/2022 Peter Ekman         Prepared and emailed to MGG (P.Flynn, A.Gern) the SMV                  0.60      $330.00
                               October inventory report re bottled and bulk wine inventory.

12/21/2022 Peter Ekman         Emailed MGG (P.Flynn, A.Gern) re payment issues related to             0.20      $110.00
                               sale of grapes.

12/22/2022 Peter Ekman         Analyzed unpaid property tax issues, and prepared                      0.20      $110.00
                               recommended actions and timelines. Communicated issues
                               MGG (P.Flynn, A.Gern).

          Peter Ekman          Analyzed cash collateral needs and usage for SMV through April         0.20      $110.00
                               2023 to update reports for MGG and operations planning.

          Peter Ekman          Analyzed operations requirements and cash needs, and prepared          0.60      $330.00
                               recommendations re changes to MGG's loan to SMV.

12/23/2022 Peter Ekman         Analyzed and updated SMV budgets and forecasts in preparation          0.30      $165.00
                               for discussion and negotiations with MGG.

12/27/2022 Peter Ekman         Reviewed and analyzed SMV documents and prepared analyses              0.40      $220.00
                               for creditor meeting re MGG's financing for SMV.


          SUBTOTAL:                                                                                   6.40     $3,520.00

          Hearing Prep - Ops Support

12/27/2022 Peter Ekman         Reviewed and analyzed motion and declaration documents re              0.30      $165.00
                               SMV's revised budgets per request by Greenspoon.




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 Date     Name                  Description                                                             Hours     Amount

12/30/2022 Peter Ekman          Analyzed, reviewed, and prepared updates to motion re DIP                0.30     $165.00
                                financing. Provided feedback from an operations perspective re
                                adequacy.


          SUBTOTAL:                                                                                      0.60     $330.00

          Operations Administration

 12/3/2022 Peter Ekman          Travel time to SMV from San Rafael (R/T).                                3.20     $880.00

12/13/2022 Peter Ekman          Analyzed and final review of contract proposal from potential            0.20     $110.00
                                valuation provider and emailed to V.Sahn, K.Krakora. Follow up
                                with K.Krakora re retention.

          Peter Ekman           Analyzed Moss Adam's proposal re NOL issues and prepared                 0.20     $110.00
                                feedback for management.

          Peter Ekman           Responded to email questions from V.Sahn, K.Krakora re                   0.20     $110.00
                                inventory valuation services.

          Peter Ekman           Analyzed and reviewed valuation proposal, and prepared                   0.40     $220.00
                                feedback to service provider re bottled inventory valuation issues.

          Peter Ekman           Analyzed and reviewed the proposal received from valuation               0.50     $275.00
                                provider re valuation services for SMV's bottled inventory.
                                Prepared summary and recommendation for leadership.

12/14/2022 Peter Ekman          Responded to emails re SMV payment from J.Hernandez for                  0.30     $165.00
                                grapes purchased. Prepared update of outstanding amounts and
                                updated cash flow forecast.

12/15/2022 Peter Ekman          Responded to P.DeLuca re creation of the data room for the M&A           0.20     $110.00
                                process and process issues for SMV to move forward.

          Peter Ekman           Responded to M.Savoy re Jigsaw hourly rates and admin issues.            0.10      $55.00

12/16/2022 Peter Ekman          Telephone conference with CRO K.Krakora re Oct inventory,                0.30     $165.00
                                MOR reporting, BotW support issues and process.

12/18/2022 Peter Ekman          Responded to a grape buying client re grapes that his company            0.50     $275.00
                                purchased from SMV during the 2022 harvest. Researched
                                contract, communications, and history with buyer.

12/19/2022 Peter Ekman          Responded to emails from BotW (T.Angelo) re requested                    0.20     $110.00
                                documents and support for the sale process.

          Peter Ekman           Telephone conferences (3 of them) with CRO K.Krakora re client           0.50     $275.00
                                payment issues, personnel issues, and general operating issues.

          Peter Ekman           Drafted a detailed email response to an SMV client re the SMV            0.70     $385.00
                                sale process, and provided detail re SMV grape purchasing
                                contracts for a potential deal.

12/21/2022 Peter Ekman          Responded to emails from counsel and accounting team re                  0.20     $110.00
                                potential engagement of service provider for
                                SMV tax analysis work.



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 Date     Name                  Description                                                           Hours       Amount


          SUBTOTAL:                                                                                    7.70     $3,355.00

          Operations Data Analysis

 12/6/2022 Peter Ekman          Analyzed Dec 6 version of weekly cash-flow forecast re funding         0.30      $165.00
                                for 1Q2023, and updated forecast.

 12/7/2022 Peter Ekman          Responded to requests and questions from S.Soares re recent            0.20      $110.00
                                broker commissions.

          Peter Ekman           Responded to emails from AWG, S.Soares, re broker                      0.30      $165.00
                                commissions in prior years and whether any 2021 commissions
                                were paid in 2022. Analyzed commission history and trends..

12/16/2022 Peter Ekman          Analyzed 4Q2022 revenue projection, and updated forecast for           0.30      $165.00
                                expected impact from Chapter 11 process on revenue in all
                                channels.


          SUBTOTAL:                                                                                    1.10      $605.00

          Operations Financial Analysis

 12/2/2022 Peter Ekman          Prepared for financial analysis update conference call with            0.40      $220.00
                                V.Sahn and K.Krakora re cash flow budgeting and assumptions,
                                actual results, and payments.

          Peter Ekman           Prepared financial and asset analysis, operating assumptions,          3.00     $1,650.00
                                and back-up material to T.Angelo. Analzyed key historical
                                operations metrics and updated summaries.

          Peter Ekman           Telephone conference with CRO K.Krakora re extended weekly             0.20      $110.00
                                cash flow assumptions, budget issues, and personnel updates.

 12/7/2022 Peter Ekman          Drafted requests for the SMV accounting team re specific needs         0.30      $165.00
                                to estimate insurance costs and property tax costs for the
                                comprehensive financial forecast. Follow up with accounting
                                team.

          Peter Ekman           Analyzed forecast and responded to emails to P.Flynn and               0.80      $440.00
                                A.Gern (both of MGG) re weekly cash-flow forecast.

 12/8/2022 Peter Ekman          Prepared (continued) cost assumptions re the 10-year financial         2.00     $1,100.00
                                forecast (SG&A, insurance, farming costs, property taxes,
                                commissions, broker fees).

12/12/2022 Peter Ekman          Analyzed BotW's financial model for SMV. Provided feedback re          1.20      $660.00
                                industry standards, COGS assumptions, and general inputs.
                                Prepared for the weekly call w T.Angelo, A.Aggarwal, P.DeLuca.

12/16/2022 Peter Ekman          Analyzed weekly cash flow forecast and updated operations              0.30      $165.00
                                model.

12/21/2022 Peter Ekman          Telephone conference with T.Angelo, BotW/BNPP re SMV's                 0.80      $440.00
                                financial model, feedback related to inputs, and improvements to
                                clarify the output. Analyzed specific inputs for T.Angelo.



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 Date     Name                   Description                                                          Hours       Amount

12/22/2022 Peter Ekman           Analyzed forecast issues, and emailed CRO K.Krakora re latest         0.30      $165.00
                                 version of the financial model and SMV business tactics.

12/27/2022 Peter Ekman           Responded to emails and questions from BotW, T.Angelo re              0.50      $275.00
                                 SMV financial model.

12/30/2022 Peter Ekman           Responded to questions from P.DeLuca, T.Angelo re SMV                 0.50      $275.00
                                 financial forecast.

          Peter Ekman            Analyzed data and info for January 2023 price increases on all        0.60      $330.00
                                 SMV products, and updated forecast.


          SUBTOTAL:                                                                                   10.90     $5,995.00

          Operations Reporting

 12/1/2022 Peter Ekman           Prepared a detailed report for BotW, A.Agarwal re SMV's Oct 31        1.00      $550.00
                                 inventory of bottled wines including cost of goods detail and
                                 support. Analyzed COGS issues and prepared summary.

          Peter Ekman            Analyzed the assumptions in the extended weekly cash flow             0.50      $275.00
                                 report, and provided a comprehensive list of updates to
                                 assumptions and key inputs.

 12/2/2022 Peter Ekman           Telephone conference with CRO K.Krakora, M.Horoupian,                 0.60      $330.00
                                 V.Sahn re weekly cash flow budget through 1Q2023, key
                                 assumptions, actual results, and vendor and creditor payment
                                 plans.

          Peter Ekman            Responded to email requests from CRO K.Krakora and V.Sahn             0.80      $440.00
                                 re questions related to weekly cash flow forecast through April
                                 23, 2023. Updated qualitative support schedules and analysis.

 12/5/2022 Peter Ekman           Analyzed and updated weekly cash flow forecast, and prepared          0.40      $220.00
                                 Dec 5 updates and reconciliations for lender and management.

12/14/2022 Peter Ekman           Analyzed A/P issues, and responded to emails and requests re          0.20      $110.00
                                 SMV Accounts Payable.

12/15/2022 Peter Ekman           Analyzed updates to the weekly cash flow forecast through mid         0.30      $165.00
                                 April 2023, and and email correspondence with ops team.

12/16/2022 Peter Ekman           Prepared updates of information and reports re MOR reporting.         0.30      $165.00

12/19/2022 Peter Ekman           Telephone conference with B.Garrison, S.Soares and K.Krakora          0.60      $330.00
                                 re year end planning to close the financial books and related
                                 reporting requirements to lender and the Court.

12/22/2022 Peter Ekman           Analyzed reports and updates re SMV's extended weekly cash            0.30      $165.00
                                 flow. Provided updates and feedback to accounting team.

12/29/2022 Peter Ekman           Analyzed and updated latest version re SMV's weekly cash flow         0.30      $165.00
                                 reporting.


          SUBTOTAL:                                                                                    5.30     $2,915.00



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 Date     Name                Description                                                              Hours       Amount

          Ops - Travel

 12/9/2022 Peter Ekman        Travel time from San Rafael to SMV in St. Helena (RT) in total            3.30      $907.50
                              115 miles [billed at 50% rates].

12/15/2022 Peter Ekman        Travel time from San Rafael to SMV in St. Helena (RT) in total            3.10      $852.50
                              115 miles [billed at 50% rates].


          SUBTOTAL:                                                                                     6.40     $1,760.00

          Ops Business Plan Development

 12/1/2022 Peter Ekman        Prepared draft marketing plan for 2023 re SMV's Direct to                 2.30     $1,265.00
                              Consumer Business. Updated detail and model to support plan.

 12/5/2022 Peter Ekman        Drafted a recommendation how to drive more visitors to the SMV            0.70      $385.00
                              property and winery re improving the DTC revenue. This to be
                              sent to BotW for inclusion in the CIM

          Peter Ekman         Drafted marketing and sales selling points and content re SMV             0.80      $440.00
                              grape business for the CIM. Information forwarded to BotW for
                              inclusion into the CIM

          Peter Ekman         Drafted a plan re: how to market the parcels on the property to           0.90      $495.00
                              enhance visitor's experience and drive visits. Plan updates
                              provided to management and BotW.

 12/6/2022 Peter Ekman        Emailed T.Angelo re feedback to the CIM (business development             0.20      $110.00
                              section).

          Peter Ekman         Email to A.Agrawal re SMV's financial model and SG&A issues.              0.40      $220.00
                              Prepared updates to correctly estimate SG&A costs and potential
                              improvements.

          Peter Ekman         Prepared detailed yearly organizational/personnel plans and               3.30     $1,815.00
                              detailed yearly SG&A budgets for SMV's long-term financial
                              forecast for both the internal business plan and the CIM.
                              Analyzed key cost drivers and ability to create operating leverage.

 12/7/2022 Peter Ekman        Telephone conference with T.Angelo, A.Agarwal re SMV L-T                  2.30     $1,265.00
                              financial forecast, SG&A questions, and DTC revenue
                              assumptions. Analyzed forecast and model inputs. Prepared
                              updates for overall business plan.

12/13/2022 Peter Ekman        Analyzed and provided in-depth feedback re historical and future          1.40      $770.00
                              pricing assumptions, operations strategy, and calculations for the
                              SMV financial forecast. Follow up with bankers.

12/15/2022 Peter Ekman        Prepared (continued) SMV business plan re the L-T forecast with           2.40     $1,320.00
                              focus on operating improvements and financial reporting/systems
                              updates.

12/20/2022 Peter Ekman        Analyzed and discussed with bankers specific assumptions re               0.60      $330.00
                              improvements of SMV's future profitability potential and cash
                              flow improvement initiatives.




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 Date     Name                Description                                                          Hours       Amount

12/20/2022 Peter Ekman        Analyzed and prepared updates for BotW/BNPP's P.DeLuca and            1.10      $605.00
                              T.Angelo re the latest version of SMV's financial model and
                              forecast.

12/21/2022 Peter Ekman        Prepared updates to SMV's email marketing program for 2023.           0.50      $275.00
                              Calls with marketing team.

          Peter Ekman         Prepared analysis re SMV's grape sale strategy, and prepared          0.80      $440.00
                              estimated impact on cash flow and operational needs.

12/22/2022 Peter Ekman        Prepared and analyzed strategy and tactics re SMV's future            1.70      $935.00
                              vineyard and farming methods. Analyzed historical results and
                              yields, and estimated CapEx needs and water issues.

          Peter Ekman         Drafted SMV's long-term strategic plan and supporting budget          2.20     $1,210.00
                              forecast. Prepared summaries and slides for the sale process.

12/23/2022 Peter Ekman        Prepared (continued) business plan development. Updated               2.30     $1,265.00
                              presentation materials and support schedules. Meeting with
                              operations team.

          Peter Ekman         Prepared business plan details (financial analysis, farming           2.10     $1,155.00
                              forecast, PPT slides) re SMV's L-T financial forecast. Updated
                              presentation materials and support schedules. Follow up with
                              ops team and management.

12/26/2022 Peter Ekman        Prepared farming cost estimates for SMV's long-term forecast          1.20      $660.00
                              and cash flow modeling. Updated budget and corresponded with
                              farming team.

12/27/2022 Peter Ekman        Analyzed SMV's DTC email marketing plan and updated to drive          0.50      $275.00
                              revenue. Evaluated SG&A costs for the long-term financial plan.

          Peter Ekman         Analyzed process and timing related to potential sale of SMV's        1.10      $605.00
                              aged bottle inventory, and researched potential outcomes.

12/28/2022 Peter Ekman        Analyzed and responded to BotW's latest addendum to the               1.20      $660.00
                              financial model re the CIM and buyer presentations.

          Peter Ekman         Prepared, updated, and analyzed farming cost estimates, and           0.60      $330.00
                              prepared future improvement estimates for 2023 and beyond with
                              better controls, processes and reporting.

12/29/2022 Peter Ekman        Analyzed the long-term financial forecast (latest version ) and       0.80      $440.00
                              updated key inputs. Provided feedback for BotW/BNPP for buyer
                              presentations.

12/30/2022 Peter Ekman        Analyzed pricing discount assumptions re SMV's financial model        0.60      $330.00

          Peter Ekman         Telephone conference with T.Angelo re 1979 and 1980-1989              0.60      $330.00
                              vintages in the financial model, pricing, pace of selling out

          Peter Ekman         Analyzed pricing assumptions re SMV's financial model                 0.50      $275.00

          Peter Ekman         Responded to T.Angelo's questions re wholesale growth for             0.50      $275.00
                              inclusion in the SMV financial model.




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 Date     Name                Description                                                            Hours        Amount


          SUBTOTAL:                                                                                  33.60     $18,480.00

          Ops Personnel Management

 12/1/2022 Peter Ekman        Responded to issues re customer payment issues. Analyzed                0.50       $275.00
                              invoices and collections efforts. Drafted memo of collection
                              tactics for accounting team and management.

 12/2/2022 Peter Ekman        Responded to emails from SMV Managers re operations,                    0.70       $385.00
                              priorities, key projects, budgeting, financial reports and issues
                              with accounting software. Calls with key managers re: personnel
                              issues.

 12/5/2022 Peter Ekman        Analyzed impact of updated proposal re the KERP for key SMV             0.30       $165.00
                              employees, and prepared summary of changes for budget.

 12/6/2022 Peter Ekman        Responded to emails from Greenspoon re SMV personnel                    0.20       $110.00
                              proposal.

          Peter Ekman         Telephone conference with Greenspoon lawyers re SMV KERP                0.20       $110.00
                              issues and data needed for personnel analysis.

          Peter Ekman         Prepared support schedules based on historical data for SMV             0.30       $165.00
                              KERP program per request from CRO and Greenspoon.

          Peter Ekman         Telephone conference (incl. call-prep) with K.Krakora, V.Sahn,          0.90       $495.00
                              M.Horoupian, D.Yannias re operations related issues, KERP
                              proposal, and cash flow issues. Analyzed and reviewed reasons
                              for losing key personnel during the Chapter 11 process and
                              prepared a plan to stabilize.

 12/8/2022 Peter Ekman        Responded to emails from SMV managers re operations                     0.60       $330.00
                              questions, priorities, and support of bankers. Prepared updated
                              work plans and timelines.

 12/9/2022 Peter Ekman        Responded to emails from SMV managers, accounting                       0.40       $220.00
                              department re operations, priorities, vendors, cost accounting,
                              general ledger issues, and bulk wine planning.

12/12/2022 Peter Ekman        Responded to emails and phone calls from SMV Managers re                0.50       $275.00
                              operations, priorities, project questions, and general personnel
                              issues.

12/14/2022 Peter Ekman        Analyzed and reviewed per request of Greenspoon final proposal          0.30       $165.00
                              re SMV KERP plan. Provided analysis and feedback.

          Peter Ekman         Telephone conference with SMV mgmt team and CRO K.Krakora               1.20       $660.00
                              re updates on operations, ops team priorities, personnel issues,
                              and sale process.

12/15/2022 Peter Ekman        Responded to emails and calls from SMV managers re                      0.60       $330.00
                              operations.

12/19/2022 Peter Ekman        Responded to emails and phone calls from SMV managers re                0.70       $385.00
                              operations issues. Follow up call with two managers.




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 Date     Name                 Description                                                            Hours       Amount

12/20/2022 Peter Ekman         Responded to questions, emails and phone calls from SMV                 0.80      $440.00
                               managers re operational issues, projects and priorities.

12/21/2022 Peter Ekman         Telephone conference with SMV's management team and                     1.00      $550.00
                               K.Krakora re updates on operations, critical projects, the sale
                               process, and personnel issues.

12/22/2022 Peter Ekman         Analyzed the personnel planning issues for winter and 2023.             0.30      $165.00
                               Updated model to reflect impact.

          Peter Ekman          Responded to emails, calls from SMV personnel re operations,            0.50      $275.00
                               projects, priorities, reporting requirements, and general
                               management issues.

          Peter Ekman          Responded to emails from K.Krakora and SMV accounting team              0.40      $220.00
                               re priorities, open items, grape contract payments, weekly
                               cash-flow forecast issues and updates, and accounts payable.

12/23/2022 Peter Ekman         Responded to emails and questions from SMV Managers re SMV              0.30      $165.00
                               operating issues and personnel management issues.


          SUBTOTAL:                                                                                   10.70     $5,885.00

          Ops Planning & Forecasting

 12/1/2022 Peter Ekman         Responded to proposals re maintenance and repair of the                 0.30      $165.00
                               Miravalle Estate House.

 12/2/2022 Peter Ekman         Prepared for call re extended weekly Cash Flow forecast.                0.30      $165.00

          Peter Ekman          Telephone conference with CRO K.Krakora, J.Ringelstein re wine          0.40      $220.00
                               club execution strategy and revenue receipts forecast for 1Q2023.

          Peter Ekman          Prepared updates and summaries to present on a conference call          0.50      $275.00
                               with CRO, SMV management, SMV lawyers re cash planning and
                               use of cash collateral issues.

 12/5/2022 Peter Ekman         Telephone conference with T.Angelo BotW/BNPP re review of               1.40      $770.00
                               the latest version of the SMV financial model. Provided
                               feedback, changes, and updates.

 12/6/2022 Peter Ekman         Responded to info requests from T.Angelo, Botw/BNPP re                  0.30      $165.00
                               overhead expenses at SMV. Prepared G&A summaries and
                               run-rate analyses.

 12/7/2022 Peter Ekman         Prepared and analyzed improvements to the SMV SG&A                      0.50      $275.00
                               estimates for the 10-year financial forecasting model. Modeled
                               rational cost savings from proposed initiatives and investment in
                               systems and people.

          Peter Ekman          Responded to questions and info requests from BothW/BNPP                0.40      $220.00
                               A.Agarwal re SMV SG&A forecast.

 12/8/2022 Peter Ekman         Prepared operating costs estimates and insurance premium                1.30      $715.00
                               analysis (incl. gathering and researching insurance detail), and
                               forecasted 10-year financial forecasting model.



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 Date     Name                Description                                                            Hours       Amount

 12/8/2022 Peter Ekman        Prepared cost assumptions re the 10-year financial forecast             2.20     $1,210.00
                              (SG&A, insurance, farming costs, property taxes, commissions,
                              broker fees).

          Peter Ekman         Analyzed marketing costs and assumptions re Spring Mountain             1.20      $660.00
                              Vineyard financial forecast for the CIM and planning purposes.
                              Follow up with marketing and ops teams.

          Peter Ekman         Analyzed and reviewed revenue and key assumptions in forecast           1.40      $770.00
                              re SMV's financial forecast for planning and sales materials.
                              Provided updates and support schedules.

12/10/2022 Peter Ekman        Responded to requests from T.Angelo, A.Aggarwal re                      1.30      $715.00
                              assumptions in the financial modeling for SMV. Analyzed
                              run-rates for forecasting purposes and updated support.

12/13/2022 Peter Ekman        Prepared wholesale marketing plan re SMV's 10 year financial            1.30      $715.00
                              forecast.

          Peter Ekman         Analyzed SMV's 2022 insurance premium costs, and updated                0.70      $385.00
                              model/forecast for 2023 and L-T forecast. Calls with ops team
                              and bankers re: assumptions.

          Peter Ekman         Drafted (continued) a DTC email marketing plan re forecasting           1.00      $550.00
                              revenue for SMV's Direct to Consumer channel. Calls with
                              marketing.

12/14/2022 Peter Ekman        Responded to emails re wholesale COGS and gross margin                  0.40      $220.00
                              assumptions and related accounting problems to be solved.

          Peter Ekman         Telephone conference with CRO K.Krakora re MGG, personnel               0.50      $275.00
                              issues, the loan issues, and KERP support requests.

          Peter Ekman         Prepared updates to operating plan, and responded to questions,         2.20     $1,210.00
                              calls and emails fr BotW re CIM, financial modeling, SG&A
                              modeling.

12/15/2022 Peter Ekman        Analyzed, prepared feedback to the latest, updated version of the       2.20     $1,210.00
                              SMV financial model. Calls with ops team and accounting team.

12/16/2022 Peter Ekman        Prepared a preliminary checklist for the accounting organization        0.40      $220.00
                              re closing the SMV books for 2022. Communicated with
                              accounting team.

12/17/2022 Peter Ekman        Analyzed revisions and updates to the SMV 10 year forecasting           1.20      $660.00
                              model. Prepared feedback and assumptions critique.

12/19/2022 Peter Ekman        Analyzed operating plan for 2023. Responded to emails and               0.40      $220.00
                              requests from BotW, P.DeLuca, T.Angelo re SMV financial
                              model and forecast

          Peter Ekman         Additional analysis and responses to the BotW/BNPP's financial          1.30      $715.00
                              model and L-T forecast.

12/20/2022 Peter Ekman        Responded to questions by BotW/T.Angelo re SMV's financial              0.20      $110.00
                              model.




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 Date     Name                    Description                                                            Hours        Amount

12/20/2022 Peter Ekman            Responded to emails from CRO K.Krakora and B.Garrison re                0.30       $165.00
                                  year-end planning isuses related to accounting close and
                                  priorities.

12/21/2022 Peter Ekman            Analyzed and reviewed latest version re the SMV 10-year                 2.20      $1,210.00
                                  financial forecast. Prepared updates and summary support
                                  schedules. Feedback for bankers.


          SUBTOTAL:                                                                                      25.80     $14,190.00

          Ops Vineyard Management

 12/6/2022 Peter Ekman            Telephone conference with D.Kindermann, Greenspoon Lawyers,             0.90       $495.00
                                  Gordian Lawyers and winery experts, MGG, P.Flynn, V.Sahn,
                                  A.Gern, CRO K.Krakora, M.Horoupian and more, re SMV winery
                                  licenses and use permits to operate, transition plan when selling
                                  the property incl. Miravalle, LaPerla, Ch.Chevalier.

          Peter Ekman             Prepared for call w D.Kindermann, V.Sahn, Gordian, MGG, CRO             0.50       $275.00
                                  re SMV vineyard issues, winery licenses, use-permits etc. and
                                  transition requirements re those in the sale of the company.

          Peter Ekman             Researched and analyzed vineyard regulatory issues and use              1.30       $715.00
                                  permits as part of go-forward plan for vineyards and farming
                                  strategy. Analyzed costs to improve farming and vine yields
                                  (including replacement costs) for all vineyards.

12/19/2022 Peter Ekman            Emailed B.Garrison and accounting team at SMV re data                   0.20       $110.00
                                  requests for SMV yearly farming expenses.

12/20/2022 Peter Ekman            Analyzed preliminary 2022 total cost re SMV farming expenses.           0.60       $330.00
                                  Updated forecast models.

          Peter Ekman             Analyzed vineyard development report re benchmarking vineyard           0.70       $385.00
                                  development cost for SMV vineyards. Prepared updates for SMV.

12/23/2022 Peter Ekman            Telephone conference with B.Garrison re SMV's 2022 farming              0.90       $495.00
                                  cost, reporting requirements, and future forecasts for vineyards.

12/29/2022 Peter Ekman            Responded to email from B.Garrison (AWG) re how to improve              0.50       $275.00
                                  SMV's accounting reports to track farming costs. Analyzed
                                  system issues and updates.


          SUBTOTAL:                                                                                       5.60      $3,080.00

          Sell-Side Ops Support

 12/2/2022 Peter Ekman            Telephone conference with Gordian Group, MGG Lawyers, CRO,              0.60       $330.00
                                  BNPP re sale process, CIM review, review of SMV financials,
                                  and inventory valuation challenges.

          Peter Ekman             Telephone conference with CRO, K.Krakora, J.Safra, D.Yannias,           1.00       $550.00
                                  J.Vann, P.DeLuca, T.Angelo re changes and updates to the CIM,
                                  fact checks, and discussed updates for the sale materials. Follow
                                  up with bankers re: support schedules needed..



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 Date     Name                Description                                                            Hours       Amount

 12/4/2022 Peter Ekman        Responded to requests from BotW re information and feedback             0.70      $385.00
                              needed for the CIM. Prepared updates and analyses.

 12/5/2022 Peter Ekman        Analyzed and reviewed CIM changes, and prrepared for call re            0.40      $220.00
                              the revised CIM with BotW/BNPP, SMV management, and CRO.

          Peter Ekman         Telephone conference with BotW/BNPP P.DeLuca, CRO,                      0.80      $440.00
                              K.Krakora, J.Safra, J.Vann, V.Sahn re updates and changes to
                              the CIM. Provided support and operations analyses.

 12/6/2022 Peter Ekman        Emailed and responded to emails to/from D.Whelan re from prior          0.30      $165.00
                              week events at SMV.

 12/7/2022 Peter Ekman        Responded to info requests from T.Angelo, A.Agarwal                     0.80      $440.00
                              BotW/BNPP re cost, revenue assumptions for the financial
                              model. Prepared detailed analyses and support schedules.

          Peter Ekman         Emailed buyer of SMV grapes re late payments for SMV 2022               0.20      $110.00
                              grapes purchased. Followed up with accounting team.

          Peter Ekman         Researched potential buyer through wine industry contacts per           0.30      $165.00
                              request by bankers.

 12/8/2022 Peter Ekman        Prepared for meeting with potential buyer, and updated materials        0.70      $385.00
                              and talking points. Call to coordinate with P. DeLuca.

 12/9/2022 Peter Ekman        Telephone conference with K.Rakora, V.Sahn re the SMV sale              0.30      $165.00
                              process and timing.

          Peter Ekman         Telephone conference with P.DeLuca, BotW/BNPP re the CIM                0.50      $275.00
                              questions, financial forecast updates, and model.

          Peter Ekman         Telephone conference with V.Sahn (Greenspoon) re sale process.          0.20      $110.00

          Peter Ekman         Meeting with potential buyer re potential acquisition of Spring         3.50     $1,925.00
                              Mountain Vineyard assets.

          Peter Ekman         Prepared agenda and overview for the morning call with J.Safra,         0.30      $165.00
                              V.Sahn, P.DeLuca, K.Krakora, Angelo, D.Yannias, Vann re
                              update of sale process, the progress on the CIM, and related M/A
                              issues.

          Peter Ekman         Telephone conference with SMV owner J.Safra, CRO Krakora,               0.90      $495.00
                              BotW (DeLuca, Angelo, Aggarwal) V.Sahn, J.Vann re CIM, M&A
                              process, operational updates, inventory valuation process, estate
                              appraiser needs, and cash flow issues.

12/12/2022 Peter Ekman        Telephone conference with BotW/BNPP (T.Angelo, P.DeLuca) re             0.80      $440.00
                              feedback and adjustments to the SMV financial forecasting
                              model, discussing the CIM and the M&A process for this week,
                              milestones

          Peter Ekman         Responded to questions and requests from BotW (T.Angelo,                1.20      $660.00
                              P.DeLuca) re SMV's financial forecasting.




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12/13/2022 Peter Ekman        Telephone conference (Zoom) with P.DeLuca, T.Angelo, CRO                 0.80      $440.00
                              Krakora, M.Horoupian, V.Sahn re issues with sale process,
                              timelines & priorities, info needed for the data-room. Prepared
                              schedules for BotW.

12/14/2022 Peter Ekman        Responded to emails from BotW re the Data Room for the                   0.20      $110.00
                              sale/M&A process

          Peter Ekman         Responded to email from P.DeLuca, BotW re potential buyer that           0.20      $110.00
                              is interested in acquiring SMV assets, and coordinated for a tour.

          Peter Ekman         Telephone conference with P.DeLuca, BotW/BNPP re the M&A                 0.70      $385.00
                              process, financing issues, and CIM updates. Provided schedules
                              requested by P.DeLuca.

12/15/2022 Peter Ekman        Analyzed and reviewed revised presentation slides re the CIM.            0.20      $110.00

          Peter Ekman         Prepared for visit by potential buyer of SMV. Coordinated with           0.50      $275.00
                              on-site team and bankers.

12/16/2022 Peter Ekman        Responded to requests from BNPP and prepared detail related to           0.30      $165.00
                              SMV permits and licenses for the data room.

          Peter Ekman         Analyzed historical operating trends for sale process materials.         0.40      $220.00
                              Prepped for call with J.Safra, K.Krakora, V.Sahn to review
                              progress sale process.

          Peter Ekman         Emails and correspondence messages to/from P.DeLuca and                  0.40      $220.00
                              T.Angelo at BotW re meetings with SMV buyers, availability,
                              timing.

          Peter Ekman         Prepared for the meeting/winery visit by potential buyer.                0.50      $275.00
                              Arranged and coordinated for potential buyer to meet with Ron
                              Rosenbrand and other team members at SMV.

          Peter Ekman         Telephone conference with BotW, P.DeLuca, T.Angelo, J.Safra,             0.60      $330.00
                              V.Sahn, J.Vann, K.Krakora re review and update on the SMV
                              sale process, appraisals, and buyer list.

          Peter Ekman         Responded to info requests from BotW M&A team re SMV's CIM               1.20      $660.00
                              and financial model. Prepared support schedules as requested.

12/17/2022 Peter Ekman        Analyzed and reviewed BotW/BNP Paribas letter to Prospective             0.40      $220.00
                              Purchasers for accuracy and completeness per request of BotW
                              bankers.

12/19/2022 Peter Ekman        Responded to inquiries and emails from R.Rosenbrand re visits            0.20      $110.00
                              of potential buyers of the SMV assets.

          Peter Ekman         Emailed R.Rosenbrand re planning for potential buyer visits at           0.20      $110.00
                              the winery.

          Peter Ekman         Meeting with A.Beak, President BotW/BNPP's US Wine Division              1.90     $1,045.00
                              re SMV, the sale and M&A process

12/20/2022 Peter Ekman        Prepared for call with V.Sahn, K.Krakora, BotW/BNPP re sale &            0.20      $110.00
                              M&A process issues.



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12/20/2022 Peter Ekman            Telephone conference with BotW/BNPP P.DeLuca, T.Angelo,                    0.80       $440.00
                                  CRO K.Krakora, G.Fatzinger, V.Sahn, M.Horoupian re status and
                                  next steps in the sale and M&A process, appraisals, bottled
                                  inventory valuation issues.

          Peter Ekman             Meeting with BotW/BNPP P.DeLuca and T.Angelo re analyzing,                 1.20       $660.00
                                  reviewing and improving SMV's financial model and 10-year
                                  forecast.

12/21/2022 Peter Ekman            Analyzed the latest version of the BotW Financial Model to                 1.40       $770.00
                                  support the sale and M&A process.

12/23/2022 Peter Ekman            Analyzed, reviewed and provided feedback to BotW's addendum                0.70       $385.00
                                  re the CIM.

12/28/2022 Peter Ekman            Responded to emails from T.Angelo (BotW) re scheduling issues              0.20       $110.00
                                  for buyers visits to SMV.

12/29/2022 Peter Ekman            Responded to questions from T.Angelo, BotW re SMV's financial              0.50       $275.00
                                  model, assumptions. Prepared support schedules.


          SUBTOTAL:                                                                                         27.20     $14,960.00

          Total For Professional Services Rendered                                                         162.30     $86,625.00


                                                     Consultant Summary
Name                                                                                            Hours    Rate             Amount
Peter Ekman                                                                                    152.70 $550.00         $83,985.00
Peter Ekman                                                                                      9.60 $275.00          $2,640.00

          Additional Charges: Expenses Incurred and Advanced

 Date     Name                    Description

          Ops Personnel Management

 12/15/2022Peter Ekman            Mileage from San Rafael to Spring Mountain and back (115 miles R/T) for staff          $71.88
                                  meetings.


          SUBTOTAL:                                                                                                      $71.88

          Sell-Side Ops Support

 12/9/2022 Peter Ekman            Mileage (R/T) from San Rafael to Spring Mountain re staff meetings and                 $71.88
                                  meeting with potential buyer (115 miles).


          SUBTOTAL:                                                                                                      $71.88

          Additional Charges: Expenses Incurred                                                                         $143.76


          Total Amount of This Invoice                                                                                $86,768.76



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            BALANCE DUE                                                                             $86,768.76




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 333
South Grand Avenue, Suite 3400, Los Angeles, CA 90071.

A true and correct copy of the foregoing document entitled (specify): MONTHLY FEE STATEMENT
NUMBER 3 MONTH OF DECEMBER 2022 will be served or was served (a) on the judge in chambers in
the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
March 27, 2023 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:



                                                                                        Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:
On (date) March , 2023 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.



                                                                                        Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) March 27, 2023, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.



                                                                                        Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



   March 27, 2023                           Patricia Dillamar                                   /s/ Patricia Dillamar
   Date                                     Printed Name                                        Signature




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                                                ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)

Steve Burnell on behalf of Debtor Spring Mountain Vineyard Inc.
steve.burnell@gmlaw.com

Dean C. Burnick on behalf of Interested Party Mt. Hawley Insurance Company (RSN)
dcb@proughlaw.com

Jacquelyn H. Choi on behalf of Creditor Napa County Treasurer-Tax Collector (RSN)
jacquelyn.choi@rimonlaw.com, docketing@rimonlaw.com

Trevor Ross Fehr on behalf of U.S. Trustee Office of the U.S. Trustee / SR
trevor.fehr@usdoj.gov

Mark S Horoupian on behalf of Debtor Spring Mountain Vineyard Inc.
mark.horoupian@gmlaw.com, cheryl.caldwell@gmlaw.com

Thomas Philip Kelly, III on behalf of Creditor Central Valley Builders Supply Inc. (RSN)
tomkelly@sonic.net

Steve Ma on behalf of Creditor MGG California, LLC
sma@proskauer.com

Jeff J. Marwil on behalf of Creditor MGG California, LLC
jmarwil@proskauer.com

Randall P. Mroczynski on behalf of Creditor Ford Motor Credit Company LLC (RSN)
rmroczynski@cookseylaw.com

Office of the U.S. Trustee / SR
USTPRegion17.SF.ECF@usdoj.gov

Elvina Rofael on behalf of U.S. Trustee Office of the U.S. Trustee / SR
elvina.rofael@usdoj.gov, Katina.Umpierre@usdoj.gov,GemMil.Langit@usdoj.gov

Victor A. Sahn on behalf of Debtor Spring Mountain Vineyard Inc.
victor.sahn@gmlaw.com, Karen.Files@gmlaw.com

Michael St. James on behalf of Interested Party Arcade Capital, LLC (RSN)
ecf@stjames-law.com

John G. Warner on behalf of Creditor Francois Freres USA Inc. (RSN)
warnerwest@aol.com

Ashley M. Weringa on behalf of Creditor MGG California, LLC
aweringa@proskauer.com

Steven F. Werth on behalf of Debtor Spring Mountain Vineyard Inc.
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Peter J Young on behalf of Creditor MGG California, LLC
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3. SERVED BY EMAIL ONLY

Debtor
Spring Mountain Vineyard Inc.
2805 Spring Mountain Road
St. Helena, CA 94574-1798
Attn: Don Yannias, President
email: don@bimi.com

Debtor's Financial Advisor And Chief Restructuring Officer
Attn: Kevin A. Krakora, Managing Director
Getzler Henrich & Associates LLC, a Hilco Global Company
150 S. Wacker Drive | 24th Floor
Chicago, IL 60606
Tel: (312) 283-8071
email: kkrakora@getzlerhenrich.com
Peter.Ekman@jigsawadvisors.com

Secured Creditors
MGG (BV) Limited
MGG Canada Fund LP
MGG Insurance Fund Series Interests of t
MGG Investment Group LP
MGG Onshore Funding I LLC
MGG SF Drawdown Master Fund (Cayman) LP
MGG SF Drawdown Unlevered Fund II LP
MGG SF Drawdown Unlevered Fund LP
MGG SF Drawdown Unlevered Master Fund I
MGG SF Evergreen Unlevered Fund LP
MGG SF Evergreen Master Fund (Cayman) LP
MGG SF Evergreen Unlevered Fund LP
MGG SF Evergreen Unlevered Master Fund I
MGG Specialty Finance Fund I LP
MGG Specialty Finance Fund LP
c/o MGG California, LLC
One Penn Plaza 53rd Fl
Attn Kevin F. Griffin, CEO
New York, NY 10119-0002
Tel: (212) 356-6100
creditagreementnotices@mgginv.com

Counsel for MGG Secured Creditors

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email: bbobroff@proskauer.com

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Jeff. J. Marwil, Esq. (NEF)
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sma@proskauer.com
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Secured Creditor
Imperial PFS aka IPFS
49 Stevenson St. #127
San Francisco, CA 94105-2909
(877) 687-9826
Lisa Chandler, Litigation and Bankruptcy Recovery Manager
lisa.chandler@ipfs.com

Request for Special Notice
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Daniel.Peralta@ttb.gov

Request for Special Notice - NEF
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       dcb@proughlaw.com

Request for Special Notice - NEF
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Courtesy Email
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Jonathan Dunworth jonathan.dunworth@shearman.com

Attorneys for Creditor Francois Freres USA Inc.
John G. Warner warnerwest@aol.com




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